    Case 18-68479-pmb                               Doc 46            Filed 04/17/19 Entered 04/17/19 16:39:42                                            Desc Main
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                                                  UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF GEORGIA
                                                                       ATLANTA DIVISION

IN RE:                                                                                }              CASE NUMBER:                    18-68479-pmb
                                                                                      }
               JAMES EDWARD CARTER, IV                                                }
                                                                                      }              JUDGE
                                                                                      }
               DEBTOR.                                                                }              CHAPTER 11




                                              DEBTOR'S MONTHLY OPERATING REPORT (INDIVIDUAL)
                                                               FOR THE PERIOD
                                  FROM                3/1/2019          TO    3/31/2019



   Comes now the above-named debtor and files its Monthly Operating Report in accordance with the Guidelines established by the United States
Trustee and FRBP 2015.



    Dated:         4/20/2019                                                                                          /s/ Howard P. Slomka
                                                                                                                      Attorney for Debtor




               Debtor's Address                                                                                       Attorney's Address
               and Phone Number:                                                                                      and Phone Number:
               2000 Norland Circle Court                                                                              Slipakoff & Slomka, PC
               Alpharetta, GA 30022                                                                                   2059 Paces Ferry Rd SE Suite 1700
               Tel. (770) 826-4233                                                                                    Atlanta, GA 30339
                                                                                                                      Bar No.       652875
                                                                                                                      Tel.          404-800-4017



Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee.
Monthly Operating Reports must be filed by the 20th day of the following month.

For assistance in preparing the Monthly Operating Report, refer to the followng resources on the United States Trustee Program website,
http://www.justice.gov/ust/r20/index.htm
1)              Instructions for Preparation Debtor's Chapter 11 Monthly Operating Report
2)              Initial Filing Requirements
3)              Frequently Asked Questions (FAQs)
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                        SUMMARY OF CASH RECEIPTS AND CASH DISBURSEMENTS

Case Name: James Edward Carter, IV
Case Number: 18-68479-pmb

Note: The information requested below is a summary of the information reported the various Schedules and Attachments contained within this report.

                                                                                                    Month                     Cumulative
                                                                                                    3/1/19                       Total


CASH- Beginning of Month Acct 1821 (Household)                                                        $28,523.33


CASH- Beginning of Month Acct 4019 (Household )                                                        $2,833.65




 Total Household Receipts Acct 1821                                                                   $31,116.36


 Total Household Receipts Acct 4019                                                                    $8,743.58


Total Receipts                                                                                        $39,859.94




 Total Household Disbursements Acct 1821                                                              $31,754.87


 Total Household Disbursements Acct 4019                                                               $9,191.68


Total Disbursements                                                                                   $40,946.55




NET CASH FLOW (Total Receipts minus Total Disbursements)                                              ($1,086.61)




CASH- End of Month Acct 1821 (Individual)                                                             $27,884.82


CASH- End of Month Acct 4019 (Individual)                                                              $2,385.55


          CALCULATION OF DISBURSEMENTS FOR UNITED STATES TRUSTEE QUARTERLY FEES
TOTAL DISBURSEMENTS (From Above)                                                                         $40,946.55

Less: Any Amounts Transferred or Paid from the Business Account to the
Household Account (i.e., Salary Paid to Debtor or Owner's Draw)



DISBURSEMENTS FOR U.S. TRUSTEE FEE CALCULATION


 I declare under penalty of perjury that this statement and the accompanying documents and reports are true and correct to the best of
                                                         my knowledge and belief

  This 20 day of March, 2019                                                              /s/ James Edward Carter, IV
                                                                                          Debtor's Signature




                                                                      Monthly Operating Report - Indivdual
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                                               SCHEDULE OF HOUSEHOLD
                                        CASH RECEIPTS AND CASH DISBURSEMENTS
                                                                         .
                                                                                        Month              Month           Cumulative
                                                                                        March              March             Total
CASH - Beginning of Month                                                                $28,523.33          $2,833.65        $31,356.98

CASH RECEIPTS
 Salary or Cash from Business                                                              $31,116.36         $8,743.58
 Wages from Other Sources (attach list to this report)
 Interest or Dividend Income
 Alimony or Child Support
 Social Security/Pension/Retirement
 Sale of Household Assets (attach list to this report)
 Loans/Borrowing from Outside Sources (attach list to this report)
 Other (specify) Return Credits

TOTAL RECEIPTS                                                                             $31,116.36         $8,743.58        $39,859.94

CASH DISBURSEMENTS
 Alimony or Child Support Payments
 Charitable Contributions
 Gifts
 Household Expenses/Food/Clothing/Cleaning/Pharmacy/Veternarian                                $2,670.81      $1,744.77
 Household Repairs & Maintenance                                                               $2,908.64      $1,946.00
 Insurance (Auto, Life, Medical, Professional Liability)                                       $4,930.86
 IRA Contribution
 Lease/Rent Payments
 Medical/Dental Payments                                                                                       $720.57
 Mortgage Payment(s)                                                                           $6,576.14
 Other Secured Payments
 Property Association Dues
 Taxes - Personal Property
 Taxes - Real Estate
 Taxes Other (attach schedule)
 Travel & Entertainment                                                                                         $244.23
 Tuition/Education                                                                                              $200.00
 Utilities (Electric, Gas, Water, Cable, Sanitation, Cell, Internet)                           $1,524.41       $266.97
 Vehicle Expenses (Fuel, Maintenance, Repair)                                                  $5,927.82      $3,569.79
 Vehicle Secured Payment (Note)                                                                  $608.19
 U. S. Trustee Quarterly Fees
 Professional Fees (Legal, Accounting)                                                           $50.00        $399.00
 Other (attach schedule)
 Chapter 11 Plan Payment                                                                       $3,850.00
 Bankruptcy Course
 Bank charge                                                                                    $5.00
 Cash/Savings                                                                               $2,703.00          $100.35
Total Household Disbursements                                                              $31,754.87         $9,191.68        $40,946.55

CASH - End of Month (Must equal reconciled bank statement-Attachment
No. 2)                                                                                     $27,884.82         $2,385.55        $30,270.37




                                                       Monthly Operating Report - Individual
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                                           SCHEDULE OF BUSINESS
                                   CASH RECEIPTS AND CASH DISBURSEMENTS
                                                                     .
                                                                                           Month   Cumulative
                                                                                           March     Total
CASH - Beginning of Month

BUSINESS CASH RECEIPTS
 Cash Sales
 Account Receivable Collection
 Loans/Borrowing from Outside Sources (attach list to this report)
 Rental Income
 Sale of Business Assets (attach list to this report)
 Other (specify) (attach list to this report)

Total Business Receipts

BUSINESS CASH DISBURSEMENTS
 Net Payroll (Excluding Self)

 Salary Paid to Debtor or Owner's Draw (e.g., transfer to Household Account)
 Taxes - Payroll
 Taxes - Sales
 Taxes Other (attach schedule)
 Contract Labor (Subcontractors)
 Inventory Purchases
 Secured/Lease Payments (Business)
 Utilities (Business)
 Insurance
 Vehicle Expenses
 Travel & Entertainment
 Repairs and Maintenance
 Supplies
 Charitable Contributions/Gifts
 Purchase of Fixed Assets
 Advertising
 Bank Charges
 Other (attach schedule)

Total Business Disbursements

CASH - End of Month (Must equal reconciled bank statement - Attachment No.
2)




                                                   Monthly Operating Report - Individual
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MONTHLY OPERATING REPORT -
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                                                                                                                                                           ATTACHMENT NO. 1
INDIVDUAL


.
                                                               QUESTIONNAIRE
                                                                                                                                           YES*            NO
1.      Have any assets been sold or transferred outside the normal course of business during this
                                                                                                                                                           X
        reporting period?
2.
        Have any funds been disbursed from any account other than a debtor in possession account?                                            X
3.      Are any post-petition receivables (accounts, notes, or loans) due from any relatives, insiders,
                                                                                                                                                           X
        or related party?
4.      Have any payments been made on pre-petition liabilities this reporting period?
                                                                                                                                                           X
5.      Have any post-petition loans been received by the debtor from any party?
                                                                                                                                                           X
6.      Are any post-petition payroll taxes past due?                                                                                                      X
7.      Are any post-petition state or federal income taxes past due?                                                                                      X
8.      Are any post-petition state or local sales taxes past due?                                                                                         X
9.      Are any post-petition real estate taxes past due?                                                                                                  X
10.     Are any amounts owed to post-petition creditors/vendors delinquent?                                                                                X
11.     Are any wage payments past due?                                                                                                                    X


                                 *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.



                                                       INSURANCE INFORMATION
                                                                                                                                           YES             NO*
1.
        Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
                                                                                                                                             X
        compensation, and other necessary insurance coverages in effect?

2.      Are all premium payments current?                                                                                                    X

                                  *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




                                                                        CONFIRMATION OF INSURANCE
                                                                                                                                            Payment Amount          Delinquency
                      TYPE of POLICY            and            CARRIER                                   Period of Coverage                  and Frequency           Amount
     State Farm Auto Insurance                                                                       Mar 20, 2019-Sept 20, 2019               $840.25/Mo
     State Farm Home Insurance                                                                         Jan 7, 2019- Jan 7, 2020               $3,978.00/Yr
     Guardian Term Life Insurance                                                                     Feb 17, 2019-May 17, 2019               $1,631.72/Qtr
     Cincinnati Finacial Corporation/Malpractice Insurance                                            Sept 1, 2018-Sept 1, 2019                695.75/Qtr
     Genworth Term Life Insurance                                                                     Feb 15, 2019-May 15, 2019                $445.90/Qtr
     Washington Mutual Life Insurance                                                                Feb 25, 2019-May 25, 2019                 $647.40/Qtr
____ Check here if United States Trustee has been listed a a Certificate Holder on all policies of insurance.


                           DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Plan of Reorganization and Disclosure Statement: ____________________15-Jul-19
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                                                                                                           ATTACHMENT NO. 2
INDIVIDUAL



         BANK ACCOUNT RECONCILIATIONS

.
Bank Account Information
                                                                            Account      Account      Account       Account
                                                                              #1           #2           #3            #4

Name of Bank:                                                             Wells Fargo   Wells Fargo

Account Number:                                                           3043731821    7236364019

Purpose of Account (Business/Personal)                                     Personal      Business

Type of Account (e.g. checking)                                          DIP Checking    Checking


1. Balance per Bank Statement                                             $27,884.82     $2,385.55
2. ADD: Deposits not credited (attach list to this report)                   $0.00         $0.00
3. SUBTRACT: Outstanding Checks (attach list)                                $0.00         $0.00
4. Other Reconciling Items (attach list to this report)                      $0.00         $0.00
5. Month End Balance (Must Agree with Books)                              $27,884.82     $2,385.55
   TOTAL OF ALL ACCOUNTS                                                  $27,884.82     $2,385.55


Note: Attach a copy of the bank statement and bank reconciliation for each account.

Investment Account Information
                                                                            Date of      Type of      Purchase      Current
Bank / Account Name / Number                                               Purchase     Instrument     Price         Value
N/A




Note: Attach a copy of each investment account statement.
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INDIVIDUAL




                                    CASH DISBURSEMENTS DETAILS - HOUSEHOLD
.
Name of Bank                                                        Well Fargo
Account Number                                                      3.044E+09
Purpose of Account (Personal)                                       Personal
Type of Account (e.g., Checking)                                    DIP Checking

     Check   Date of
    Number   Check                        Payee                                     Purpose or Description                    Amount
              3/1      Chick-Fil-A                                  Household-Food                                             $7.25
              3/1      Jones Bridge Animal                          Household-Veternarian                                     $31.95
              3/1      Target                                       Household                                                 $131.41
              3/1      Target                                       Household                                                 $14.93
              3/1      Publix                                       Household-Food                                            $24.45
              3/4      Transfer to Connie Carter acct 1805          Cash                                                      $500.00
              3/4      Stoney River                                 Household-Food                                            $106.00
              3/4      Kroger Fuel                                  Vehicle-Fuel                                              $43.04
              3/4      Cheesburger Bobby                            Household-Food                                             $9.85
              3/4      Kroger Fuel                                  Vehicle-Fuel                                              $45.88
              3/4      Transfer to Austin Carter acct 1797          Cash                                                      $30.00
              3/4      McDonalds                                    Household-Food                                            $14.74
              3/4      ATM                                          Cash                                                      $200.00
              3/4      Transfer to Austin Carter acct 1797          Cash                                                      $100.00
              3/4      Kroger Fuel                                  Vehicle-Fuel                                              $55.75
              3/4      Cracker Barrel                               Household-Food                                            $26.19
              3/4      Target                                       Household                                                  $9.52
              3/4      ATM                                          Cash                                                      $300.00
              3/4      CSU Producers                                Insurance-Professional Liability                          $695.75
              3/5      Panera Bread                                 Household-Food                                            $19.78
              3/5      ATT                                          Utilities-Phone                                           $95.36
              3/6      Carrabbas                                    Household-Food                                            $71.72
              3/6      Dunkin                                       Household-Food                                            $10.88
              3/6      Panda Express                                Household-Food                                            $10.28
              3/6      Mr K Express                                 Vehicle-Maintenance                                       $10.00
              3/6      Panera Bread                                 Household-Food                                            $16.90
              3/6      ATT                                          Utilities-Cellular                                        $348.20
              3/6      Georgia Natural Gas                          Utilities-Gas                                             $577.45
              3/6      State Farm                                   Insurance-Auto                                            $706.07
              3/6      Guardian Life                                Insurance Life                                           $1,783.39
              3/7      Jim N Nicks                                  Household-Food                                            $21.26
              3/7      Quick Trip                                   Vehicle-Fuel                                              $47.97
              3/7      Comcast Cable                                Utilities-Cable                                           $357.75
              3/8      Publix                                       Household-Food                                            $107.33
              3/8      ATT                                          Utilities-Phone                                           $95.36
              3/8      Slipakoff & Slomka                           Chapter 11 Payment                                       $3,850.00
              3/11     ABM Lanier                                   Household                                                  $3.00
              3/11     Jimmy Johns                                  Household-Food                                            $17.84
              3/11     Walgreens                                    Household-Pharmacy                                        $29.49
              3/11     Jones Bridge Animal                          Household-Veternarian                                     $264.75
              3/11     Executive Clothing                           Household-Clothing                                        $42.80
              3/11     Pappadeaux                                   Household-Food                                            $61.00
              3/11     Wash Factory                                 Vehicle-Maintenance                                        $7.00
              3/11     Quick Trip                                   Vehicle-Fuel                                              $45.59
              3/11     Publix                                       Household-Food                                            $45.15
              3/11     Publix                                       Household-Food                                            $127.74
      1018    3/11     Washington National Insurance                Insurance Life                                            $647.40
              3/12     SOS Corp Gateway                             Professional Fees                                         $50.00
              3/12     Petsmart                                     Household-Veternarian                                     $58.00
              3/12     BP                                           Vehicle-Fuel                                              $52.97
              3/12     Kroger                                       Household-Food                                            $78.94
              3/12     Transfer to Austin Carter acct 1797          Cash                                                      $20.00
              3/14     Transfer to Austin Carter acct 1797          Cash                                                      $20.00
              3/14     Publix                                       Household-Food                                            $134.48
              3/14     Transfer to Austin Carter acct 1797          Cash                                                      $40.00
              3/15     Publix                                       Household-Food                                            $11.83
              3/18     Kroger Fuel                                  Vehicle-Fuel                                              $16.45
              3/18     Amazon                                       Household                                                 $71.96
              3/18     Executive Clothing                           Household-Food                                            $49.85
              3/18     Paypal                                       Household                                                 $16.89
              3/18     Home Depot                                   Household Maintenance                                     $123.64
              3/18     Target                                       Household                                                  $3.76
              3/18     Publix                                       Household-Food                                            $79.73
              3/18     Kroger Fuel                                  Vehicle-Fuel                                              $51.91
              3/18     Transfer to Connie Carter acct 1805          Cash                                                      $400.00
              3/18     Centennial Motors                            Vehicle-Repair                                            $355.11
              3/19     Earthlink                                    Utilities-Internet                                        $50.29
              3/19     Kroger Fuel                                  Vehicle-Fuel                                              $37.49
              3/19     BP                                           Vehicle-Fuel                                               $7.55
              3/19     Antico Pizza                                 Household-Food                                            $25.86
              3/19     Publix                                       Household-Food                                            $183.11
              3/20     Publix                                       Household-Food                                            $23.34
              3/20     Kroger Fuel                                  Vehicle-Fuel                                              $23.59
              3/21     Target                                       Household                                                 $78.05
              3/22     Executive Clothing                           Household-Clothing                                        $23.00
              3/22     Transfer to Austin Carter acct 1797          Cash                                                      $20.00
              3/22     United Health Care Ins Premium               Insurance-Medical                                        $1,098.25
              3/25     Chipoltle                                    Household-Food                                             $7.37
              3/25     BP                                           Vehicle-Fuel                                              $57.43
              3/25     ATM                                          Cash                                                      $203.00
              3/25     ATM Transaction Fee                          Bank Charge                                                $2.50
              3/25     Bank Check Patrick Dougherty                 Household Repair-Roof                                    $2,610.00
              3/25     Transfer to Austin Carter acct 1797          Cash                                                      $50.00
              3/25     Executive Clothing                           Household-Clothing                                        $41.95
              3/25     Publix                                       Household-Food                                            $58.26
              3/25     Office Depot                                 Household-Supplies                                        $118.49
              3/25     ATM                                          Cash                                                      $200.00
              3/25     Publix                                       Household-Food                                            $191.57
      1019    3/25     Check William D Auto Sales                   Vehicle Secured Payment                                   $608.19
              3/26     Aomi Japanese                                Household-Food                                            $113.32
              3/26     Kroger Fuel                                  Vehicle-Fuel                                              $59.76
              3/26     Walgreens                                    Household-Pharmacy                                        $52.02
              3/26     Transfer to Connie Carter acct 1805          Cash                                                      $400.00
              3/27     Transfer to James E Carter IV                Cash                                                      $200.00
              3/28     Armandos                                     Household-Food                                            $22.82
              3/28     Kroger Fuel                                  Vehicle-Fuel                                              $16.48
              3/28     ACI service fee                              Bank Charge                                               $12.50
              3/28     SLS Mortgage                                 Mortgage Payment                                         $6,576.14
              3/29     Lakeview Appliance                           House Repair                                              $175.00
              3/29     Transfer to Austin Carter acct 1797          Cash                                                      $20.00
              3/29     Kroger Fuel                                  Vehicle-Fuel                                              $49.15
              3/29     Bank Check Bear Valley Service               Vehicle-Repair                                           $4,934.70

                                                                                                              TOTAL         $31,754.87

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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MONTHLY OPERATING REPORT -                                                                                ATTACHMENT NO. 3B
INDIVIDUAL


                                 CASH DISBURSEMENTS DETAILS - Household

Name of Bank                                         Wells Fargo
Account Number                                       7236364019
Purpose of Account (Personal)                        Personal
Type of Account (e.g., Checking)                     Checking

 Check     Date of
Number     Check                       Payee                         Purpose or Description    Amount
             3/1     Golden Corral                   Household-Food                             $12.38
             3/4     Dunkin                          Household-Food                              $8.98
             3/4     Sirius XM                       Entertainment                             $120.19
             3/4     Bear Valley Service             Vehicle Repair                           $1,021.19
             3/4     Executive Cleaning              Household-Clothing                         $35.00
             3/4     Land Rover                      Vehicle Repair                            $837.69
             3/4     Batteries Plus                  Vehicle Repair                              $9.53
             3/4     Chick-Fil-A                     Household-Food                              $7.27
             3/4     Best Buy                        Household                                  $64.63
    1079    3/4      Rigo Nunez                      Household Maintenance                    $1,000.00
             3/7     Apple iTunes                    Entertainment                               $2.58
             3/7     Zimmer Dental Medical           Professional Fees-Continuing Education    $399.00
             3/8     Apple iTunes                    Entertainment                              $14.99
             3/8     Apple                           Household-Computer                       $1,376.94
             3/8     Bear Valley Service             Vehicle Repair                            $305.70
             3/8     Apple iTunes                    Entertainment                              $24.99
            3/11     J Alexander's                   Household-Food                            $113.28
            3/11     Pappadeaux                      Household-Food                             $21.00
            3/11     Pappadeaux                      Household-Food                              $7.49
            3/12     Publix                          Household-Food                              $5.09
            3/13     Netflix                         Entertainment                              $10.99
            3/14     Apple iTunes                    Entertainment                               $1.27
            3/14     Apple iTunes                    Entertainment                               $6.99
            3/14     Chipotle                        Household-Food                              $9.43
            3/15     Armando's                       Household-Food                             $57.29
            3/18     ATT                             Utilities-Cellular                        $105.10
            3/18     ATT                             Utilities-Cellular                         $51.00
            3/18     ATT                             Utilities-Cellular                         $45.00
            3/18     Paypal                          Cash                                        $0.35
            3/18     Paypal                          Cash                                      $100.00
            3/20     ATT                             Utilities-Cellular                         $65.87
            3/21     Apple iTunes                    Entertainment                              $15.98
            3/21     Bear Valley Service             Vehicle Repair                           $1,389.68
            3/22     Fusion Sleep                    Medical Payments                          $450.57
            3/22     Apple iTunes                    Entertainment                               $1.29
            3/22     Amazon                          Household                                  $25.99
            3/22     Buford Benchmark                Medical Payments                          $180.00
            3/25     Apple iTunes                    Entertainment                               $8.99
            3/25     Apple iTunes                    Entertainment                              $12.99
            3/25     Apple iTunes                    Entertainment                               $9.99
            3/28     Woodard Academy                 Educational                               $200.00
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MONTHLY OPERATING REPORT -                                                                                     ATTACHMENT NO. 3C
INDIVIDUAL

                                     CASH DISBURSEMENTS DETAILS - BUSINESS

Name of Bank
Account Number
Purpose of Account (Business)
Type of Account (e.g., Checking)

 Check      Date of
Number      Check                        Payee                                   Purpose or Description                      Amount
                      N/A




                                                                                                             TOTAL       $

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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MONTHLY OPERATING REPORT -                                                                        ATTACHMENT NO. 4
INDIVIDUAL

.
ACCOUNTS RECEIVABLE RECONCILIATION                                         Scheduled                       Current Month
(Pre- & Post- Petition)                                                     Amount
Accounts Receivable Beginning Balance
    Plus: Billings During the Month
    Less: Collections During the Month
    Adjustments or WriteOffs*
Accounts Receivable Ending Balance**

ACCOUNTS RECEIVABLE AGING                                                  Scheduled                       Current Month
(Pre- & Post- Petition)                                                     Amount

0 - 30 Days

31 - 60 Days

61 - 90 Days

Over 90 Days



Total Accounts Receivable**

* Attach explanation of any adjustment or writeoff.

** The "current month" of these two lines must equal.


                                                                           Beginning                           Amount
POST-PETITION TAXES                                                            Tax                            Withheld &
                                                                            Liability*                        or Accrued
Federal Taxes
    Withholding**
    FICA - Employee
    FICA - Employer
    Unemployment
    Income
    Other (Attach List)
Total Federal Taxes



State & Local Taxes
    Withholding
    Sales
    Unemployment
    Real Property
    Personal Property
    Other (Attach List)
Total State & Local Taxes
Total Post-Petition Taxes

* The beginning tax liability should represent the liability from the prior month, or if this is the first report, the amount should be zero
** Attach copies of IRS Form 6123 or your FTD coupon and payment receipt to verify payment or deposit
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MONTHLY OPERATING REPORT -                                                                                                                                ATTACHMENT NO. 5
INDIVIDUAL

.
                                       ACCOUNTS PAYABLE RECONCILIATION (Post-Petition Only)
                                                                                      Month                       Month                        Month


Accounts Payable Beginning Balance*
    Plus: New Indebtedness During the Month
    Less: Amount Paid on Acct. Payables in Month
    Adjustments or WriteOffs**
Accounts Payable Ending Balance

* The beginning A/P liability should represent the liability from the prior month, or if this is the first report, the amount should be zero
**Attach explanation for any adjustment or write-off.


                                                            ACCOUNTS PAYABLE LISTING
[List all bills or invoices incurred since the filing of the petition (Post-Petition Only) and have NOT been paid]***
                                                                                       Date                     Days
            Vendor & Description of Bill/Invoice                                     Incurred                Outstanding                       7/1/2017




*** List any additional payables on a separate sheet and attach to this schedule.




        POST-PETITION STATUS OF SECURED NOTES, LEASES, AND ADEQUATE PROTECTION PAYMENTS
                                                 Scheduled     Total Past Due
                                              Monthly Payment   From Prior      Amount Paid
         Name of Secured Creditor / Lessor          Due          Month(s)      During Month
William D Auto Sales                              $608.19          $0.00          $608.19
Case 18-68479-pmb   Doc 46    Filed 04/17/19 Entered 04/17/19 16:39:42   Desc Main
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Case 18-68479-pmb   Doc 46    Filed 04/17/19 Entered 04/17/19 16:39:42   Desc Main
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         Case 18-68479-pmb                      Doc 46        Filed 04/17/19 Entered 04/17/19 16:39:42                                        Desc Main
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                                                                               SM of 29
Wells Fargo Opportunity Checking
Account number: 3043731821                 ■   March 1, 2019 - March 31, 2019             ■   Page 1 of 6




                                                                                                           Questions?
JAMES E CARTER IV                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH11 CASE #18-68479 (NGA)                                                                                    1-800-TO-WELLS             (1-800-869-3557)

2000 NORLAND CIRCLE CT                                                                                       TTY: 1-800-877-4833
ALPHARETTA GA 30022-7129                                                                                     En español: 1-877-727-2932

                                                                                                                    1-800-288-2288 (6 am to 7 pm PT, M-F)

                                                                                                           Online: wellsfargo.com

                                                                                                           Write: Wells Fargo Bank, N.A. (297)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




 You and Wells Fargo                                                                                       Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                              A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                            convenient services with your account(s). Go to
                                                                                                           wellsfargo.com or call the number above if you have
                                                                                                           questions or if you would like to add new services.

                                                                                                           Online Banking           ✓     Direct Deposit          ✓
                                                                                                           Online Bill Pay          ✓     Auto Transfer/Payment
                                                                                                           Online Statements        ✓     Overdraft Protection
                                                                                                           Mobile Banking           ✓     Debit Card
                                                                                                           My Spending Report       ✓     Overdraft Service




Activity summary                                                                                           Account number: 3043731821

       Beginning balance on 3/1                                      $28,523.33                            JAMES E CARTER IV
       Deposits/Additions                                             31,116.36                            DEBTOR IN POSSESSION
                                                                                                           CH11 CASE #18-68479 (NGA)
       Withdrawals/Subtractions                                      - 31,754.87
                                                                                                           Georgia account terms and conditions apply
       Ending balance on 3/31                                       $27,884.82
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN): 061000227



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (297)
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      Sheet 00001 of 00003
      Case 18-68479-pmb             Doc 46      Filed 04/17/19 Entered 04/17/19 16:39:42                  Desc Main
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Transaction history

                 Check                                                                  Deposits/   Withdrawals/   Ending daily
     Date       Number Description                                                      Additions   Subtractions       balance
     3/1               Purchase authorized on 02/27 Chick-Fil-A #03700 Alpharetta GA                        7.25
                       S389058796420183 Card 9012
     3/1               Purchase authorized on 02/28 Jones Bridge Anima Johns Creek                        31.95
                       GA S389059809142501 Card 9012
     3/1               Purchase authorized on 03/01 Target T- 6000 N Point Alpharetta                    131.41
                       GA P00000000679211022 Card 9012
     3/1               Purchase authorized on 03/01 Target T- 6000 N Point Alpharetta                     14.93
                       GA P00000000881868860 Card 9012
     3/1               Purchase authorized on 03/01 Publix Super Mar 9925 Hay Johns                       24.45      28,313.34
                       Creek GA P00309060846679530 Card 9012
     3/4               Transfer to Carter Connie on 03/01 Ref #Pp05Vtnh9R xxxxxx1805                     500.00
     3/4               Purchase authorized on 02/28 Stoney Rive5000205 Roswell GA                        106.00
                       S389060047056225 Card 9012
     3/4               Purchase authorized on 03/01 Kroger Fuel #1344 Alpharetta GA                       43.04
                       S389060796616476 Card 9012
     3/4               Purchase authorized on 03/02 Cheeseburger Bobby Peachtree                            9.85
                       Cor GA S309061632424079 Card 9012
     3/4               Purchase authorized on 03/02 Kroger Fu 8465 Halcomb Johns                          45.88
                       Creek GA P00000000536039970 Card 9012
     3/4               Transfer to Carter Austin on 03/02 Ref #Pp05Vzxxsp xxxxxx1797                      30.00
     3/4               Purchase authorized on 03/02 McDonald's F17198 McDonough                           14.74
                       GA S589062167310501 Card 9012
     3/4               ATM Withdrawal authorized on 03/03 5525 Peachtree Pkwy                            200.00
                       Norcross GA 0001899 ATM ID 0197R Card 9012
     3/4               Transfer to Carter Austin on 03/03 Ref #Pp05W2Zfmv xxxxxx1797                     100.00
     3/4               Purchase authorized on 03/03 Kroger Fu 3000 Old Ala Alpharetta                     55.75
                       GA P00000000982381206 Card 9012
     3/4               Purchase authorized on 03/03 Cracker Barrel # 5580 Win                             26.19
                       Alpharetta GA P00469063002054555 Card 9012
     3/4               Purchase authorized on 03/04 Target T- 3205 Woodwar Buford                           9.52
                       GA P00000000730433024 Card 9012
     3/4               ATM Withdrawal authorized on 03/04 4170 Pleasant Hill Duluth                      300.00
                       GA 0006053 ATM ID 0197Y Card 9012
     3/4               Csu Producer Res Excs/Srpls 190302 0335270 Ivr *Consumer                          695.75      26,176.62
     3/5               Big Daddy Dentis Payroll 80852100008228x Carter, James E         22,378.22
     3/5               Purchase authorized on 03/04 Panera Bread #6017 Buford GA                          19.78
                       S589063667999549 Card 9012
     3/5               ATT Payment 030319 141636001Smt2U Checking                                         95.36      48,439.70
     3/6               Purchase authorized on 03/04 Carrabbas 6112 Duluth GA                              71.72
                       S469063816436495 Card 9012
     3/6               Purchase authorized on 03/05 Dunkin #302564 Q35 Duluth GA                          10.88
                       S309064443650802 Card 9012
     3/6               Purchase authorized on 03/05 Panda Express 1577 Buford GA                          10.28
                       S469064649763559 Card 9012
     3/6               Purchase authorized on 03/05 MR K Express Car W Buford GA                          10.00
                       S589064663963822 Card 9012
     3/6               Purchase authorized on 03/05 Panera Bread #2037 Duluth GA                          16.90
                       S469064824955803 Card 9012
     3/6               ATT Payment 030519 262763002Smt2J Checking                                        348.20
     3/6               Georgianaturalga Geornatgas 190306 000345610-03546 James E                        577.45
                       Carter IV
     3/6               State Farm Ro 08 Cpc-Client 27 S 1557413927 James E Carter                         706.07
     3/6               Guardian Life Web Pay 190305 92194 James Carter                                  1,783.39     44,904.81
     3/7               Purchase authorized on 03/06 4022 Jnn Suwanee Suwanee GA                            21.26
                       S389065666429099 Card 9012
     3/7               Purchase authorized on 03/07 Quiktrip Buford GA                                    47.97
                       P00389066667860865 Card 9012
     3/7               Purchase Return authorized on 03/07 Josabank Clothiers 858            0.68
                       Buford GA P00000000836436988 Card 9012
     3/7               Comcast Cable 190306 1587684 James *Carter                                        357.75      44,478.51
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Transaction history (continued)

                            Check                                                                  Deposits/   Withdrawals/   Ending daily
     Date                  Number Description                                                      Additions   Subtractions       balance
     3/8                          Purchase authorized on 03/08 Publix Super Mar 4305 Sta                             107.33
                                  Alpharetta GA P00469067845650824 Card 9012
     3/8                          ATT Payment 030719 300834002Smt2L Checking                                          95.36
     3/8                          Slipakoff & Slom Sale 190308 James E Carter                                      3,850.00     40,425.82
     3/11                         Purchase authorized on 03/07 Abm Lanier Hunt 07 Atlanta GA                           3.00
                                  S309066854446457 Card 9012
     3/11                         Purchase authorized on 03/08 Jimmy Johns - 1672 Roswell GA                         17.84
                                  S469067572021303 Card 9012
     3/11                         Purchase authorized on 03/08 Walgreens #5760 Alpharetta GA                         29.49
                                  S389067581740426 Card 9012
     3/11                         Purchase authorized on 03/08 Jones Bridge Anima Johns Creek                       264.75
                                  GA S309067659081859 Card 9012
     3/11                         Purchase authorized on 03/09 Executive Clothing Duluth GA                          42.80
                                  S469068495057714 Card 9012
     3/11                         Purchase authorized on 03/10 Pappadeaux Seafood Alpharetta                         61.00
                                  GA S589069712878081 Card 9012
     3/11                         Purchase authorized on 03/10 Wash Factory Expre Johns Creek                          7.00
                                  GA S389069771104770 Card 9012
     3/11                         Purchase authorized on 03/10 Quiktrip Alpharetta GA                                45.59
                                  P00309069783836385 Card 9012
     3/11                         Purchase authorized on 03/10 Publix Super Mar 9925 Hay Johns                       45.15
                                  Creek GA P00309069831935790 Card 9012
     3/11                         Purchase authorized on 03/11 Publix Super Mar 5805 Sta Duluth                     127.74
                                  GA P00309070754386608 Card 9012
     3/11                    1018 Check                                                                             647.40      39,134.06
     3/12                         Purchase authorized on 03/11 S.O.S. Corp Gatewa 404-652-2887                       50.00
                                  GA S309070442104676 Card 9012
     3/12                         Purchase authorized on 03/12 Petsmart # 0289 Alpharetta GA                         58.00
                                  P00469071720267028 Card 9012
     3/12                         Purchase authorized on 03/12 Bp#1723089Ck 2 Alpharetta GA                          52.97
                                  P00000000879691352 Card 9012
     3/12                         Purchase authorized on 03/12 Kroger #3 3000 Old Ala Alpharetta                     78.94
                                  GA P00000000487099634 Card 9012
     3/12                         Transfer to Carter Austin on 03/12 Ref #Pp05Xbfsjj xxxxxx1797                      20.00      38,874.15
     3/14                         Transfer to Carter Austin on 03/14 Ref #Pp05Xjlj3S xxxxxx1797                      20.00
     3/14                         Purchase authorized on 03/14 Publix Super Mar 5805 Sta Duluth                     134.48
                                  GA P00309073645021661 Card 9012
     3/14                         Transfer to Carter Austin on 03/14 Ref #Pp05Xkljqr xxxxxx1797                      40.00      38,679.67
     3/15                         Purchase authorized on 03/15 Publix Super Mar 9925 Hay Johns                       11.83      38,667.84
                                  Creek GA P00309074747247696 Card 9012
     3/18                         Purchase authorized on 03/15 Kroger Fuel #1344 Alpharetta GA                       16.45
                                  S389074767608224 Card 9012
     3/18                         Purchase authorized on 03/15 Amzn Mktp US*Mw1Vx                                    71.96
                                  Amzn.Com/Bill WA S469075147698896 Card 9012
     3/18                         Purchase authorized on 03/16 Executive Clothing Duluth GA                          49.85
                                  S469075766742070 Card 9012
     3/18                         Purchase authorized on 03/17 Paypal *Dealworld 402-935-7733                        16.89
                                  CA S389076473567720 Card 9012
     3/18                         Purchase authorized on 03/17 The Home Depot #0131 Duluth GA                       123.64
                                  P00469076593346181 Card 9012
     3/18                         Purchase authorized on 03/17 Target T- 5950 State B Duluth GA                        3.76
                                  P00000000872729753 Card 9012
     3/18                         Purchase authorized on 03/17 Publix Super Mar 5805 Sta Duluth                      79.73
                                  GA P00469076618141947 Card 9012
     3/18                         Purchase authorized on 03/17 Kroger Fu 8465 Halcomb Johns                          51.91
                                  Creek GA P00000000586604086 Card 9012
     3/18                         Transfer to Carter Connie on 03/18 Ref #Pp05Y4Ws84 xxxxxx1805                     400.00
     3/18                         Purchase authorized on 03/18 Centennial Motors Alpharetta GA                      355.11      37,498.54
                                  P00000000879295000 Card 9012
     3/19                         Recurring Payment authorized on 03/18 WWW*Earthlink.Net                            50.29
                                  800-719-4660 GA S469077398562410 Card 9012




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    Sheet 00002 of 00003
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Transaction history (continued)

                   Check                                                                  Deposits/   Withdrawals/   Ending daily
     Date         Number Description                                                      Additions   Subtractions       balance
     3/19                Purchase authorized on 03/18 Kroger Fuel Ctr #1 Johns Creek GA                      37.49
                         S469077709846870 Card 9012
     3/19                Purchase authorized on 03/18 Bp#1723089Ck 2211 Alpharetta                            7.55
                         GA S469077724757996 Card 9012
     3/19                Purchase authorized on 03/18 Antico Pizza Avalo Alpharetta GA                      25.86
                         S469077736350993 Card 9012
     3/19                Purchase authorized on 03/19 Publix Super Mar 9925 Hay Johns                      183.11      37,194.24
                         Creek GA P00469078796828035 Card 9012
     3/20                Big Daddy Dentis Payroll 81068000004990x Carter, James E         8,737.46
     3/20                Purchase authorized on 03/19 Publix Super Mar 9925 Hay Johns                       23.34
                         Creek GA P00469079042003583 Card 9012
     3/20                Purchase authorized on 03/20 Kroger Fu 3000 Old Ala Alpharetta                     23.59      45,884.77
                         GA P00000000074632596 Card 9012
     3/21                Purchase authorized on 03/21 Target T- 5950 State B Duluth GA                      78.05      45,806.72
                         P00000000571555547 Card 9012
     3/22                Purchase authorized on 03/20 Executive Clothing Duluth GA                          23.00
                         S469079408559345 Card 9012
     3/22                Transfer to Carter Austin on 03/22 Ref #Pp05Yqxcjq xxxxxx1797                       20.00
     3/22                Unitedhealthone Ins. Prem. 190321 xxxxx3133 x                                    1,098.25     44,665.47
     3/25                Purchase authorized on 03/22 Chipotle 0379 Duluth GA                                 7.37
                         S469081740354556 Card 9012
     3/25                Purchase authorized on 03/23 Bp#1723626Ck 2211 Alpharetta                          57.43
                         GA S309082431580339 Card 9012
     3/25                Non-WF ATM Withdrawal authorized on 03/23 3700 Old                                203.00
                         Alpharett Johns Creek GA 00469082434193493 ATM ID Lk864531
                         Card 9012
     3/25                Non-Wells Fargo ATM Transaction Fee                                                  2.50
     3/25                Purchase Bank Check OR Draft                                                     2,610.00
     3/25                Transfer to Carter Austin on 03/23 Ref #Pp05Ytqrqm xxxxxx1797                       50.00
     3/25                Purchase authorized on 03/23 Executive Clothing Duluth GA                           41.95
                         S309082770951704 Card 9012
     3/25                Purchase authorized on 03/23 Publix Super Mar 5805 Sta Duluth                      58.26
                         GA P00389082786678399 Card 9012
     3/25                Purchase authorized on 03/24 Office Depot 00 5805 Stat Duluth                     118.49
                         GA P00309083823756593 Card 9012
     3/25                ATM Withdrawal authorized on 03/24 5825 State Bridge Rd                           200.00
                         Duluth GA 0008876 ATM ID 6065B Card 9012
     3/25                Purchase authorized on 03/25 Publix Super Mar 9925 Hay Johns                      191.57
                         Creek GA P00589084680326144 Card 9012
     3/25           1019 Check                                                                             608.19      40,516.71
     3/26                Purchase authorized on 03/24 Aomi Japanese Rest Norcross GA                       113.32
                         S589083804836644 Card 9012
     3/26                Purchase authorized on 03/25 Kroger Fuel Ctr #1 Johns Creek GA                     59.76
                         S389084642625548 Card 9012
     3/26                Purchase authorized on 03/25 Walgreens #5760 Alpharetta GA                         52.02
                         S469084721072038 Card 9012
     3/26                Transfer to Carter Connie on 03/26 Ref #Pp05Z4Tmq2                                400.00      39,891.61
                         xxxxxx1805
     3/27                Online Transfer to James E Carter IV Dmd PC Business Checking                     200.00      39,691.61
                         xxxxxx4019 Ref #Ib05Z7W4F9 on 03/27/19
     3/28                Purchase authorized on 03/26 Armando's Caribe Dulluth GA                           22.82
                         S309085808877468 Card 9012
     3/28                Purchase authorized on 03/27 Kroger Fuel #1344 Alpharetta GA                       16.48
                         S389086666343600 Card 9012
     3/28                Aci Service Fee Servicefee 190327 000001044125788                                  12.50
                         Carter,James
     3/28                Sls Mortgage Pay Csr Pay 190327 000001044125789                                  6,576.14     33,063.67
                         Carter,James
     3/29                Purchase authorized on 03/27 Lakeview Appliance 630-7874484                       175.00
                         IL S469086559646931 Card 9012
     3/29                Transfer to Carter Austin on 03/29 Ref #Pp05Zj7Hsk xxxxxx1797                      20.00
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Transaction history (continued)

                             Check                                                                              Deposits/         Withdrawals/         Ending daily
       Date                 Number Description                                                                  Additions         Subtractions             balance
       3/29                        Purchase authorized on 03/29 Kroger Fu 3455 Peachtr Duluth GA                                         49.15
                                   P00000000483561219 Card 9012
       3/29                        Purchase Bank Check OR Draft                                                                       4,934.70           27,884.82
       Ending balance on 3/31                                                                                                                           27,884.82
       Totals                                                                                                 $31,116.36           $31,754.87

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number               Date               Amount         Number           Date                 Amount
       1018                 3/11                647.40        1019             3/25                  608.19


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 03/01/2019 - 03/31/2019                                                Standard monthly service fee $10.00                You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                 This fee period


                                                                                                                                                                3
       Have any ONE of the following account requirements

                                                                                                                                                                3
         · Minimum daily balance                                                                                    $1,500.00                    $26,176.62     ✔



                                                                                                                                                                3
         · Total amount of qualifying direct deposits                                                                $500.00                     $31,115.68     ✔

         · Total number of posted Wells Fargo Debit Card purchases and/or payments                                         10                            69     ✔

       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period.
       JL/JL




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Worksheet to balance your account                                         General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your      ■    To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest        Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or          dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement             furnished to a consumer reporting agency by writing to us at Overdraft
period.                                                                        Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
A Enter the ending balance on this statement.             $                    describe the specific information that is inaccurate or in dispute and the
                                                                               basis for the dispute along with supporting documentation. If you believe
 B List outstanding deposits and other                                         the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on                                  with an identity theft report.
this statement. Enter the total in the column
                                                                          ■    In case of errors or questions about your electronic transfers,
to the right.
                                                                               telephone us at the number printed on the front of this statement or write
                                                                               us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
Description                     Amount
                                                                               you can, if you think your statement or receipt is wrong or if you need more
                                                                               information about a transfer on the statement or receipt. We must hear
                                                                               from you no later than 60 days after we sent you the FIRST statement on
                                                                               which the error or problem appeared.
                                                                               1. Tell us your name and account number (if any).
                                                                               2. Describe the error or the transfer you are unsure about, and explain as
                                                                                  clearly as you can why you believe it is an error or why you need more
                   Total   $                           + $
                                                                                  information.
                                                                               3. Tell us the dollar amount of the suspected error.
C Add A and B to calculate the subtotal.               = $
                                                                               We will investigate your complaint and will correct any error promptly. If
 D List outstanding checks, withdrawals, and                                   we take more than 10 business days to do this, we will credit your account
other debits to your account that do not appear                                for the amount you think is in error, so that you will have the use of the
on this statement. Enter the total in the column                               money during the time it takes us to complete our investigation.
to the right.

Number/Description              Amount




                   Total   $                           -   $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                              = $                                                                   . NMLSR ID 399801
                                                                              ©2010 Wells Fargo Bank, N.A. All rights reserved
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         Case 18-68479-pmb                      Doc 46        Filed 04/17/19 Entered 04/17/19 16:39:42                                        Desc Main
                                                             Document     Page 22 of 29
Wells Fargo Simple Business Checking
Account number: 7236364019                  ■   March 1, 2019 - March 31, 2019            ■   Page 1 of 5




                                                                                                           Questions?
JAMES E CARTER IV DMD PC                                                                                   Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
2000 NORLAND CIRCLE CT
ALPHARETTA GA 30022-7129                                                                                     1-800-CALL-WELLS               (1-800-225-5935)

                                                                                                             TTY: 1-800-877-4833
                                                                                                             En español: 1-877-337-7454

                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (297)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




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 Visit wellsfargoworks.com to explore videos, articles, infographics, interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s). Go to wellsfargo.com/biz or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           call the number above if you have questions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              ✓
                                                                                                           Online Statements                                    ✓
                                                                                                           Business Bill Pay                                    ✓
                                                                                                           Business Spending Report                             ✓
                                                                                                           Overdraft Protection




Activity summary                                                                                           Account number: 7236364019

       Beginning balance on 3/1                                       $2,833.65                            JAMES E CARTER IV DMD PC
       Deposits/Credits                                                 8,743.58                           Georgia account terms and conditions apply
       Withdrawals/Debits                                             - 9,191.68                           For Direct Deposit use
       Ending balance on 3/31                                         $2,385.55                            Routing Number (RTN): 061000227
                                                                                                           For Wire Transfers use
       Average ledger balance this period                             $1,932.56                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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      Sheet Seq = 0127016
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Transaction history

                 Check                                                                  Deposits/   Withdrawals/    Ending daily
     Date       Number Description                                                        Credits          Debits       balance
     3/1               Gwinnettfa479817 Payroll 030119 2399634 James E Carter IV        3,117.98
                       Dmd
     3/1               Purchase authorized on 02/28 Golden Corral 2435 Buford GA                           12.38       5,939.25
                       S309059663431280 Card 6737
     3/4               Purchase authorized on 03/01 Dunkin #302564 Q35 Duluth GA                            8.98
                       S469060489943946 Card 6737
     3/4               Recurring Payment authorized on 03/01 Sxm*Siriusxm.Com/A                           120.19
                       888-635-5144 NY S309060494925945 Card 6737
     3/4               Purchase authorized on 03/01 Bear Valley Servic Roswell GA                       1,021.19
                       S309060702591697 Card 6737
     3/4               Purchase authorized on 03/01 Executive Clothing Duluth GA                           35.00
                       S589060775827999 Card 6737
     3/4               Purchase authorized on 03/01 Land Rover San Die 858-549-6003                       837.69
                       CA S589060812424623 Card 6737
     3/4               Purchase authorized on 03/02 Batteries Plus - #0110 Duluth GA                        9.53
                       P00389061671346262 Card 6737
     3/4               Purchase authorized on 03/02 Chick-Fil-A #00448 Alpharetta GA                        7.27
                       S389061773027696 Card 6737
     3/4               Purchase authorized on 03/03 Best Buy #516 Alpharetta GA                            64.63
                       P00000000036760291 Card 6737
     3/4          1079 Check                                                                            1,000.00       2,834.77
     3/7               Purchase authorized on 03/05 Apl* Itunes.Com/Bi 866-712-7753                         2.58
                       CA S469065142309181 Card 6737
     3/7               Purchase authorized on 03/06 Zimmer Dental Mede                                    399.00       2,433.19
                       760-929-4300 CA S589065480605181 Card 6737
     3/8               Recurring Payment authorized on 03/07 Apl*Itunes.Com/Bil                            14.99
                       866-712-7753 CA S469066581760014 Card 6737
     3/8               Purchase authorized on 03/07 Apl*Apple Online S 800-676-2775                     1,376.94
                       CA S309066584939421 Card 6737
     3/8               Purchase authorized on 03/08 Bear Valley Service Ll Roswell GA                     305.70         735.56
                       P00000000572637528 Card 6737
     3/11              Purchase authorized on 03/08 Apl* Itunes.Com/Bi 866-712-7753                        24.99
                       CA S389067786792329 Card 6737
     3/11              Purchase authorized on 03/08 J Alexander's 0200 Norcross GA                        113.28
                       S589067840852878 Card 6737
     3/11              Purchase authorized on 03/08 Pappadeaux Seafood Alpharetta                          21.00
                       GA S389068019813210 Card 6737
     3/11              Purchase authorized on 03/08 Pappadeaux Seafood Alpharetta                           7.49         568.80
                       GA S589068029246339 Card 6737
     3/12              Purchase authorized on 03/12 Publix Super Mar 5885 Cum                               5.09         563.71
                       Buford GA P00469071622888532 Card 6737
     3/13              Recurring Payment authorized on 03/12 Netflix.Com Netflix.Com                       10.99         552.72
                       CA S389071476174607 Card 6737
     3/14              Purchase authorized on 03/12 Apl* Itunes.Com/Bi 866-712-7753                         1.27
                       CA S589072014178984 Card 6737
     3/14              Purchase authorized on 03/12 Apl* Itunes.Com/Bi 866-712-7753                         6.99
                       CA S589072028085803 Card 6737
     3/14              Purchase authorized on 03/13 Chipotle 0932 Buford GA                                 9.43         535.03
                       S389072611527745 Card 6737
     3/15              Gwinnettfa479817 Payroll 031519 2399634 James E Carter IV        2,298.24
                       Dmd
     3/15              Purchase authorized on 03/13 Armando's Caribe Dulluth GA                            57.29       2,775.98
                       S589072773149018 Card 6737
     3/18              Paypal Verifybank 190317 1005185726921 James Carter                  0.15
     3/18              Paypal Verifybank 190317 1005185726919 James Carter                  0.20
     3/18              Purchase authorized on 03/15 AT&T Eatl 11447 800-331-0500 GA                       105.10
                       S469074625027035 Card 6737
     3/18              Purchase authorized on 03/18 AT&T 0204 Buford GA                                    51.00
                       P00589077622423438 Card 6737
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Transaction history (continued)

                             Check                                                                              Deposits/         Withdrawals/         Ending daily
       Date                 Number Description                                                                    Credits                Debits            balance
       3/18                        Purchase authorized on 03/18 AT&T 0204 Buford GA                                                      45.00
                                   P00309077624207068 Card 6737
       3/18                        Paypal Verifybank 190317 1005185726922 James Carter                                                    0.35            2,574.88
       3/19                        Paypal Transfer 190319 4Tl22Aqgkycsc James Carter                                                    100.00            2,474.88
       3/20                        Purchase authorized on 03/18 AT&T Df Z4Mag 4020                                                       65.87            2,409.01
                                   WWW.ATT.Com GA S589077632596845 Card 6737
       3/21                        Purchase authorized on 03/19 Apl*Itunes.Com/Bil 866-712-7753                                          15.98
                                   CA S469078836610357 Card 6737
       3/21                        Purchase authorized on 03/20 Bear Valley Servic 770-645-9035                                       1,389.68            1,003.35
                                   GA S309079717286903 Card 6737
       3/22                        Purchase authorized on 03/20 Fusion Sleep LLC Suwanee GA                                             450.57
                                   S589079680927431 Card 6737
       3/22                        Purchase authorized on 03/20 Apl* Itunes.Com/Bi 866-712-7753                                            1.29
                                   CA S309080020913009 Card 6737
       3/22                        Purchase authorized on 03/20 Amzn Mktp US*Mw2H6                                                       25.99
                                   Amzn.Com/Bill WA S389080213192404 Card 6737
       3/22                        Purchase authorized on 03/21 Buford Benchmark Sugar Hill GA                                          180.00               345.50
                                   S309080580105198 Card 6737
       3/25                        Purchase authorized on 03/21 Apl*Itunes.Com/Bil 866-712-7753                                            8.99
                                   CA S389080804744103 Card 6737
       3/25                        Purchase authorized on 03/22 Apl* Itunes.Com/Bi 866-712-7753                                          12.99
                                   CA S389081836320058 Card 6737
       3/25                        Purchase authorized on 03/22 Apl* Itunes.Com/Bi 866-712-7753                                            9.99              313.53
                                   CA S469081836336625 Card 6737
       3/27                        Online Transfer From Carter J Checking xxxxxx1821 Ref                           200.00                                    513.53
                                   #Ib05Z7W4F9 on 03/27/19
       3/28                        Purchase Return authorized on 03/27 Zimmer Dental Mede                          399.00
                                   Carlsbad CA S619087546149217 Card 6737
       3/28                        Purchase authorized on 03/26 Woodward Academy T                                                      200.00
                                   404-7654000 GA S589085475907870 Card 6737
       3/28                        Purchase authorized on 03/26 Apl* Itunes.Com/Bi 866-712-7753                                          12.99
                                   CA S589085836954387 Card 6737
       3/28                        Purchase authorized on 03/27 Buford Benchmark Sugar Hill GA                                           90.00
                                   S309086575591844 Card 6737
       3/28                        Purchase authorized on 03/27 MR K Express Car W Buford GA                                               6.00              603.54
                                   S389086600056496 Card 6737
       3/29                        Gwinnettfa479817 Payroll 032919 2399634 James E Carter IV                     2,728.01
                                   Dmd
       3/29                   1080 Check                                                                                                946.00            2,385.55
       Ending balance on 3/31                                                                                                                             2,385.55
       Totals                                                                                                  $8,743.58            $9,191.68

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number               Date               Amount         Number           Date                 Amount
       1079                 3/4                1,000.00       1080             3/29                  946.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 03/01/2019 - 03/31/2019                                                Standard monthly service fee $10.00                You paid $0.00




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Monthly service fee summary (continued)

      How to avoid the monthly service fee                                                            Minimum required                   This fee period


                                                                                                                                                           3
      Have any ONE of the following account requirements
        · Average ledger balance                                                                                 $500.00                      $1,933.00    ✔

      The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
      Transactions occurring after the last business day of the month will be included in your next fee period.
      C1/C1




Account transaction fees summary
                                                                                     Units          Excess        Service charge per               Total service
      Service charge description                              Units used         included            units           excess units ($)                charge ($)
      Cash Deposited ($)                                               0            3,000                0                   0.0030                        0.00
      Transactions                                                     9               50                0                      0.50                       0.00
      Total service charges                                                                                                                                $0.00
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General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                  You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                     and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the             information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft              an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                         Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . .$.

ADD
B. Any deposits listed in your                                                 $
   register or transfers into                                                  $
   your account which are not                                                  $
   shown on your statement.                                                  + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                            ......$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                            ......$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . . .$. .


                                                                                                                                          Total amount $




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